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                     Exhibit 27
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             From: Rose Kersten
             Sent: Wedresday, April 29, 2015 2:39 PM
             To: Scbaefer, Robert
             CC: Dun, Carrol L; Steve Cottrell
             Subject: In response to your letter

             Good morning Bob,

             Per Steve, here is the con t act information for Gerry Stegmaier: gste gmaier@ goodw i np rote ctor.com, 9001 New York Avenue NW, Washington,
             DC 20001, 202-346-4202.

             Thank you,




             [                                                  J  Roseanna L. Kersten
                                                                   Contract Coordinator ard Assistant to President
                                                                   400 Wain Street, 3rd Floor I La Crosse, 1M 54601
                                                                   Tel: 608.796.1233 I fax: 608.796.0657
                                                                   Rose.Kersten@authenticom.com
                                                                   www.aulhenticom.oom

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             intended reCJpient. Any reviewordi&ribution by othersis&rictly prohibited. If you are not the intended recipient plea~ contact the
             render and delete all ropies




             From : Schaefer, Robert [mailto:robert_schaefer@reyrey.com(
             Sent: Tuesday, April 21, 2015 2:26 PM
             To: 'Schaefer, Robert'; Steve Cottrell
             Cc: Rose Kersten; 'Dun, Carrol L'
             Subject: RE: In response to your letter

             Steve ,

             Before w e se t up a fac e to face w e nee d to have a phon e conve rsat ion. W e nee d to make sure w e are cl ea r on what th e specifi c topics will be
             for the face to fa ce meetings and if we w i ll need our lawyers pre sent.

             This is of the utmost importance and needs to get done by end of day tomorrow. Please advise me when you are avai lable. I will make myself
             av ail able anyti me.


             From: Schaefer, Robert [mailto:robert schaefer@r_e re .com ]
             Sent: Tuesday, April 21, 2015 8:32 AM
             To: 'Steve Cottrell'
             Cc: 'Rose Kersten'; 'Dun, Carrol L'
             Subject: RE: In response to your letter

             Steve ,

             I would suggest w e have a confe re nce call first befor e w e mee t fa ce t o face so w e can se t th e age nd a for th e fa ce to f ace and com e to so me
             sort of di rection/clarification before we take the t i me to meet.

             Rose I have copied Carrol Dun who is my ass istant on this email so we can ge t the conference cal l and meeting se t up.




             From: Steve Cottrell [mailto:Steve@Authenticom.com ]
             Sent: Monday, April 20, 2015 11:16 PM
             To: Schaefer, Robert
             Cc: Rose Kersten
             Subject: RE : In response to your letter

             Bob,
             I have never been a Reynolds associate. I left Half A Car before the acquisition by Reynolds. I also have never been party to any of your dealer
             agreements. I have heard lots of conflicting information over the years though.
             Since I have no direct knowledge or experience with your access agreements I stand by my previous statements and logical assumption that
             the dealer has the right to choose how to move the ir own data.
             With that all being said , I am very encouraged by your wiliness to meet face to face and discuss the issues at hand.
             To that end I have copied Rose Kersten one of my Executive Assistants on this email. She can coordinate our meeting. I am optimistic
             that we can find a way to collaborate and continue to serve best in class solutions to our mutual cu stomers and the automotive
             industry.




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             Looking forward to resolving all of our mutual concerns,

             Steve



             From : Schaefer, Robert [mailto: rob ert schaefer@ reyrey.co m)
             Sent: Wednesday, April 15, 2015 4:27 PM
             To: Steve Cottrell
             Subject: RE: In response to your letter

             Steve,

             As a former Reynolds Associate (and automotive industry participant), I' m confident that you are fully aware of Reynolds ' policy that
             prohibits its DMS customers from allowing unauthorized third party access to the Reynolds DMS. To the extent there is any doubt
             about your knowledge (there is none), plea se take notice that Reynolds' sta ndard contracts absolutely prohibit unauthorized third party
             access like that provided by Authenticom.

             Your threats regarding "unfair competition, interference with [your] contractual rights ... and potentially even antitrust violations" are
             groundless. At bottom, you are suggesting that you are entitled to free unfettered access to Reynolds' DMS system. You are not
             entitled to such access.

             Reynolds takes its system performance, integrity, and security seriously and reserves all of its rights with respect to your hostile access
             of Reynold s' DMS. However, I am willing to meet with you next week to discuss how to move forward in the best intere st of Reynolds'
             customers.

             When would you like to talk?

             Thanks,
             Bob



             From: Steve Cottrell [mailto:Steve@Authenticom.com]
             Sent: Tuesday, April 14, 2015 3: 10 PM
             To: Schaefer, Robert G
             Subject: In response to your letter

                      April 14, 2015


                      VIA EMAIL AND REGISTERED MAIL

                       Mr. Robert G. Schaefer
                       Vice President
                       Reynolds & ReyrKJids
                       One Reynolds Way
                       Dayton, Ohio 45430
                      Re:    Resoonse to Auril 6 2015 Letter

                      Dear Robert:

                      We are in receipt of your April 6, 2015 letter on behalf of Reynolds & Reynolds ("R&R''). You contend that Authenticom's actions in
                      assisting its custo1rers' access to and analysis of their custo1rer data gives rise to "liability ... fur ... tortious interreren::e with contracts."
                      We respectfully but strongly disagree.

                      As an initial nntter, R&R has not provided Authenticom with copies of any of the contracts with which y0u allege Authenticom interrered.
                      N evertbeless, it is our understanding that those contracts provide R&R's customers with considerable rights and flexibility in accessing and
                      1mking use of their data. R&R's attellJJt to interfere with how its custo1rers use this data, in our view, raises the question wlx:ther R&R is
                      itself fulfilling its oblig;itions to its custorrers under those agreerrents. Moreover, we do not believe the customers will appreciate R&R's
                      atterrpt to restrict their access to and usage of that data.

                      Second, a significant percentage of R&R's custorrers also are Authenticom's customers. We, like you, have contractual agreements with
                      our custo1rers. Our prinnry objective is to provide a safe and secure data 1rovement option in a fair and co1rpetitive nnrketplace. Your
                      April 6, 2015 letter unjustifiably attempts to interfere with our contractual relationships, raising serious issues of unrair corrpetition,
                      interference with our contractual rights and those of the custo1rers, and potentially even antitrust violations.

                      Your letter identifies y0ur primary concern as one of data security. Data security is the prinnry focus of our products and is also of the
                      upnnst importance to us as a preniurn service provider. In that reg;ird, we think it would be productive to sit down and discuss those
                      issues and collaborate in providing services to the autonntive industry, as well as any other ideas to benefit our mutual custolll;:rs and the




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                  autoITTJtive industiy at large.




                  Sincerely,



                  Steve



                                                                                  Stephen
                                                                                  Cottrell
                                                                       CEO , President &
                                                                        Founder
                                                                       400 Main Street, 3rd Floor I
                                                                       La 0-osse, WI 54601
             ~ - - - - - - - - - - - - - - - - - - - - - - - - - - - t ,el: 608.793.42001 Fax: 608
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